                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

 RICHARD MITCHELL,                                )
                                                  )
                 Plaintiff,                       )
                                                  )
 v.                                               )
                                                  )           Case No. 4:23-CV-00138-GAF
 THE DIEZ GROUP, LLC                              )
 d/b/a DIEZ GROUP,                                )          Hon. Gary A. Fenner
                                                  )
 and                                              )
                                                  )
 THE DIEZ GROUP KANSAS CITY,                      )
 LLC d/b/a DELACO STEEL KANSAS                    )
 CITY,                                            )
                                                  )
                 Defendants.                      )


                     DEFENDANTS’ UNOPPOSED MOTION TO STAY
                      FINAL PRETRIAL CONFERENCE AND TRIAL

       Defendants The Diez Group, LLC and The Diez Group Kansas City, LLC respectfully

request that the Court stay the Final Pretrial Conference and trial dates until after the Court has

ruled on the pending summary judgment motion. In support of this request, Defendants state as

follows:

       1.       Defendants timely filed their Motion for Summary Judgment on January 15,

2024. (See Dkt. 36.) Plaintiff sought and received a one-week extension to the deadline for his

Opposing Suggestions and filed them on February 12, 2024. (See Dkt. 44.) Defendants filed their

Reply Suggestions on March 4, 2024. (See Dkt. 45.)

       2.       The Court has not yet ruled on Defendants’ Motion for Summary Judgment.

       3.       Under the Scheduling and Trial Order, the Final Pretrial Conference is currently

scheduled for May 16, 2024, with a jury trial scheduled to commence on June 18, 2024.



                                        1
            Case 4:23-cv-00138-GAF Document 46 Filed 04/30/24 Page 1 of 4
       4.       Defendants respectfully request that the Court stay the Final Pretrial Conference

and trial until after it has ruled on the pending summary judgment motion. Doing so will relieve

the Court and the parties from having to expend unnecessary time and effort preparing to try

issues that may ultimately be resolved at summary judgment. Plaintiff’s Complaint alleges six

different causes of action. Thus, even a partial grant of summary judgment could significantly

impact the scope of the trial and the parties’ preparations for it.

       5.       Defendants have not previously requested an extension to the Joint Pretrial

Conference or trial dates.

       6.       Defendants are acting in good faith, and granting their request will not cause

undue delay or unduly prejudice any of the parties.

       7.       As noted above, Defendants’ counsel conferred with Plaintiff’s counsel and

Plaintiff’s counsel does not oppose this request.

       Accordingly, Defendants respectfully request that the Court stay the Final Pretrial

Conference and trial dates until after the Court has ruled on the pending summary judgment

motion.




                                        2
            Case 4:23-cv-00138-GAF Document 46 Filed 04/30/24 Page 2 of 4
                                    Respectfully submitted,


Dated: April 30, 2024               By: /s/ Robert J. Finkel
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                                    Thomas J. Davis (admitted pro hac vice)
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                                    Attorneys for Defendants




                                     3
         Case 4:23-cv-00138-GAF Document 46 Filed 04/30/24 Page 3 of 4
                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 30, 2024, the foregoing was served via the Court’s CM/ECF

system, which sent electronic notice of the filing to all counsel of record.




                                                      /s/ Robert J. Finkel
                                                      Robert J. Finkel




                                      4
          Case 4:23-cv-00138-GAF Document 46 Filed 04/30/24 Page 4 of 4
